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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS
                              KANSAS CITY COURTHOUSE

CAROL MABON,                                    §
                                                §
       Plaintiff,                               §
                                                §
       v.                                       §       No. 2:10-cv-02698-EFM -DJW
                                                §
RECEIVABLES PERFORMANCE                         §
MANAGEMENT LLC,                                 §
     Defendant.                                 §


                                   NOTICE OF SETTLEMENT

       “NOW COMES the Plaintiff, CAROL MABON, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and all

parties to the present matter are currently in the process of executing the aforementioned

settlement agreement, which Plaintiff anticipates will be completed within the next 30 days.”

       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.




                                                                                                1
                                    NOTICE OF SETTLEMENT
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Dated: February 4, 2011            RESPECTFULLY SUBMITTED,

                                   KROHN & MOSS, LTD.


                             BY:   /s/ Adam Maxwell                  .

                                   Adam Maxwell
                                   Krohn & Moss, Ltd.
                                   120 W. Madison St. - 10th Floor
                                   Chicago, IL 60602
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                                   Attorney for Plaintiff,
                                   CAROL MABON




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                          NOTICE OF SETTLEMENT
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                                CERTIFICATE OF SERVICE

               I hereby certify that on February 4, 2011, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system. I further certify that on February 4, 2011, I
served all counsel of record with a copy of this document by way of the CM/ECF system.


                                         By: /s/ Adam Maxwell_
                                                 Adam Maxwell




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                                  NOTICE OF SETTLEMENT
